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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MINNESOTA


 In re Cattle and Beef Antitrust Litigation

 This Document Relates to:                          Case No. 22-md-3031 (JRT/JFD)

 ALL ACTIONS



                             NOTICE OF APPEARANCE

       PLEASE TAKE NOTICE that Owen Gallogly of Wilkinson Stekloff LLP shall also

appear as counsel of record for Defendants Cargill, Incorporated and Cargill Meat

Solutions Corporation.

 Dated: August 20, 2024
                                        s/
                                       Beth A. Wilkinson
                                       Kosta Stojilkovic
                                       Sarah Neuman
                                       WILKINSON STEKLOFF LLP
                                       2001 M. Street NW, 10th Flr
                                       Washington, DC 20036
                                       (202) 847-4010
                                       bwilkinson@wilkinsonstekloff.com
                                       kstojilkovic@wilkinsonstekloff.com
                                       sneuman@wilkinsonstekloff.com

                                       Moira Penza
                                       Owen Gallogly
                                       WILKINSON STEKLOFF LLP
                                       130 W 42nd Street, Floor 24
                                       New York, NY 10036
                                       (212) 294-8914
                                       mpenza@wilkinsonstekloff.com
                                       ogallogly@wilkinsonstekloff.com



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                         Defendants Cargill,
                         Defendants           Incorporated and
                                     Cargill, Incorporated and Cargill
                                                               Cargill
                         Meat  Solutions Corporation
                         Meat Solutions Corporation




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